
724 S.E.2d 908 (2012)
TEAGUE
v.
DOT.
No. 281P06-8.
Supreme Court of North Carolina.
March 8, 2012.
Joseph E. Teague, Jr., Raleigh, for Teague, Joseph E., Jr.
Tina A. Krasner, Assistant Attorney General, for NC DOT.
Lars F. Nance, Special Deputy Attorney General, for NC DOT.
The following order has been entered on the motion filed on the 3rd of January 2012 by Plaintiff for Petition for Writ of Certiorari:
"Motion Denied by order of the Court in conference, this the 8th of March 2012."
EDMUNDS, J. recused.
